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                         UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK
  _________________________________________________
  JOHN KOGUT,
                                Plaintiff,

                          v.

  THE COUNTY OF NASSAU, et al.,

                                                        No. CV-06-6695
                                  Defendants,           (Seybert, J.)
                                                        (Wall, M.J.)
  _________________________________________________
  JOHN RESTIVO, et al.,                                 (consolidated with
                                                        No. 2:06-CV-
  6720(JS)(WDW)
                                  Plaintiffs,

                          v.                            ORAL ARGUMENT
                                                        REQUESTED

  THE COUNTY OF NASSAU, et al.,

                                Defendants.
  _________________________________________________




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                                            Introduction

         In this § 1983 wrongful conviction action, defendants improperly seek to withhold from

  production a number of critical documents plaintiffs John Restivo and Dennis Halstead now

  move to compel. Most notably, defendants voluntarily produced two memos written by Nassau

  County District Attorney’s Office (“NCDA”) prosecutors, before belatedly seeking to claw them

  back as attorney work product several months later. But neither these memos nor any other

  documents created by the NCDA during plaintiffs’ long-defunct criminal prosecutions are

  covered by attorney work product privilege. Furthermore, given the circumstances of the

  production, defendants have waived any claims to privilege. The Court should compel

  defendants to produce these and other improperly withheld documents.

                                  Pertinent Factual Background

         As this Court is aware, this litigation concerns the responsibility of Nassau County and

  various Nassau County Police Department (“NCPD”) officers for a stunning miscarriage of

  justice: the wrongful conviction and nearly 18-year imprisonment of plaintiffs John Restivo and

  Dennis Halstead, as well as co-plaintiff John Kogut, for the rape and murder of Theresa Fusco, a

  crime that they did not commit. The Restivo and Halstead prosecution was based primarily on

  the testimony of jailhouse snitches and what the NCDA would later describe as “drug-addicted

  acquaintances of the defendants, all of whom received benefits for their testimony,” as well as

  two hairs from the victim, Theresa Fusco, allegedly recovered from Restivo’s van four months

  after the murder.

         All three men consistently maintained their innocence. In 1994 and 1995, two rounds of

  DQ Alpha DNA testing excluded all three men as the source of semen found in the victim’s body
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  at autopsy. Each then moved for a new trial; despite negotiations, the NCDA eventually opposed

  these motions, which were unsuccessful. Eight years later, after a new round of more

  sophisticated DNA testing on newly located evidence again conclusively excluded all three

  plaintiffs as the source of semen found in the victim’s body, the NCDA agreed to vacate the

  convictions on June 11, 2003. Kogut was retried at a bench trial and, on or about December 20,

  2005, acquitted. Judge Victor Ort found that the victim’s hairs were actually collected from the

  victim at her autopsy and either planted in Restivo’s van or commingled with hairs collected

  from it. (Amended Complaint, D.E. 33 ¶ 112.) The NCDA then moved to dismiss the Restivo

  and Halstead indictment on December 29, 2005, noting that the “DNA evidence basically

  disproved [its] theory of the case,” and the remaining evidence against them was “inherently

  suspect. . . .”

                                    Relevant Procedural History

          This § 1983 suit alleges that NCPD officers including lead detective Joseph Volpe caused

  plaintiffs’ wrongful convictions by, inter alia, suppressing exculpatory evidence. While police,

  like prosecutors, have obligations under Brady v. Maryland, 373 U.S. 83 (1963), to disclose

  exculpatory information, they satisfy Brady by turning the evidence over to prosecutors. Walker

  v. City of New York, 974 F.2d 293, 298-99 (2d Cir. 1992). If both the police officer and the

  prosecutor know of exculpatory evidence that is not disclosed to the defense, the police officer is

  not liable, id., and the prosecutor would be absolutely immune, Warney v. Monroe County, 587

  F.3d 113, 125 (2d Cir. 2009). Thus a key issue here is whether exculpatory information never

  provided to the defense was known to the NCDA during the prosecution.


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          The most significant information plaintiffs allege was withheld from the prosecution and

  defense is documents disclosed for the first time in this civil action regarding alternate suspects

  and exculpatory leads in the Theresa Fusco rape/murder (“the French documents”). Briefly,

  these documents show that police learned early in the investigation that a witness driving home

  late the night Theresa Fusco went missing, near where her body would eventually be found,

  heard a girl scream; seeing a car parked by the side of the road, the witness stopped to

  investigate. The same car had been reported stolen earlier that evening; when later recovered, its

  owner found that a length of rope was missing from the back seat (consistent with the ligature

  used to strangle the victim), and a pair of inside-out girls’ striped jeans—matching the jeans the

  victim was last seen wearing—were found under the passenger seat. This vehicle had no

  connection to Restivo, Halstead or Kogut and these NCPD documents were never produced to

  any of these plaintiffs at their criminal trials.

          Defendant, detective Volpe testified in his deposition that the French documents were

  exculpatory evidence that should have been turned over to the defense, and claimed he had

  disclosed them (along with all the rest of his files) to the prosecutor.1 To date, plaintiffs have

  deposed the original carrying ADA, Hon. Ed McCarty, and the trial ADA, Fred Klein, both of




      1
        Deposition of Joseph Volpe (Dec. 2, 2009), at 100:4-01:2 (“Q. You said earlier that you
  believed that this material would constitute Brady material, the French material, correct? . . . A.
  Oh, yes.”); id. at 101:4-16 (“Q. And if it wasn’t disclosed, would you agree with me then that
  this was a Brady violation? . . A. But it was. Q. Well, you’re saying that you believe that it was
  disclosed, right? . . . A. Based on what I previously stated that I had given all the information in
  my file over to the DA.”); see also id.at. 96 (“I – I don’t recall if I did” discuss search of John
  French’s car with ADA Klein).
                                                     3
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  whom disclaim any memory of the French documents.2 Unsurprisingly, given that it is now

  decades later, both Klein and McCarty shied away from making any categorical statements about

  what they learned when.3

          None of the French documents were in any of the NCDA files produced to plaintiffs or in

  the more complete NCDA file that plaintiffs’ counsel earlier reviewed in the County Attorney’s

  Office. However, when plaintiffs served requests to admit that the French documents were not

  in the NCDA file, defendants demurred, claiming that the NCDA file had been dismantled and

  commingled with other documents such that they could neither admit nor deny the request.

  Thus, although the weight of evidence contradicts Volpe’s claim that he provided the French

  documents to the prosecution, plaintiffs have been hampered in their efforts to prove that

  definitively.


      2
        See, e.g., Deposition of Fred Klein (Aug. 23, 2010) at 217:24-18:6 (“Q. Do you have any
  general or specific recollection of being told that ladies striped blue jeans were found in a car
  that was reported by a witness to be near the scene of where Theresa Fusco’s body was
  recovered? A. No.”); id. at 219:2-15 (If the jeans turned out to be Fusco’s “[t]hat would be
  significant. Q. That would be a big deal, wouldn’t it? A. It certainly would.”); Deposition of
  Hon. Edward McCarty III (Dec. 23, 2010) at 72:10-12, 87:4-20) (admitting he has no memory of
  the French car, and that if the French car was involved in Theresa Fusco’s disappearance, that
  would be inconsistent with the later theory of prosecution of Restivo, Halstead and Kogut).
      3
        See, e.g., Klein dep. (Aug. 23, 2010), at 175-76 (“I’m saying I don’t remember now” with
  regard to what he discussed with Volpe prior to trial); id. at 182-83 (“The best I can tell you is
  that I don’t remember”); McCarty dep. (Dec. 23, 2010) at 38-39 (“I don’t remember anything
  substantive; it’s been 25 years.”; “It’s been 25 years; I do not know.”). Additionally, plaintiffs
  deposed former Det. Michael O’Leary, who reinvestigated the Fusco rape/murder between 2002
  and 2005. O’Leary testified that he saw in the NCPD case materials a photograph of a car and
  forensic reports reflecting that no hair or fingerprints were found in it, but when he called Det.
  Volpe to ask about the car he was told it had “nothing to do with the [Theresa Fusco] homicide.”
  O’Leary did not know that Lori French found pinstriped girls’ jeans inside-out in her brother
  John French’s car. In fact, O’Leary did not see any documentation regarding – nor even hear the
  names -- John French, Lori French, or Debbie Smith (the witness who had heard the scream).
  Deposition of Michael O’Leary (Jan. 18, 2011) at 83:4-85:12.
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                                           The DA Memos

         On October 22, 2010, as part of a production containing “document ranges [plaintiffs]

  should have received but were nonetheless missing,” October 22, 2010 Freeman letter to

  Cornwall (attached as Exhibit 1), defense counsel produced two memos (“the DA memos”): a

  17-page March 10, 1995, memo from NCDA Appeals Bureau then-Chief Peter Weinstein and

  NCDA Appeals Bureau then-Deputy Chief Bruce Whitney to DA Denis Dillon (the “Weinstein

  memo”), and a 2-page March 13, 1995, memo from trial ADA Fred Klein to then-DA Denis

  Dillon (the “Klein memo”).4 Both memos catalogue and assess the evidence—both inculpatory

  and exculpatory—in the possession of the NCDA in connection with Mr. Restivo and Mr.

  Halstead’s then-pending motions for a new trial based on their 1994 and 1995 DQ Alpha DNA

  exclusions.

         At his February 10, 2011 deposition, Mr. Weinstein testified that he and Mr. Whitney had

  recommended vacating Mr. Restivo’s and Mr. Halstead’s convictions; that Mr. Klein had a

  different view and the issue was “hotly contested” between them.5 Mr. Weinstein also testified at

  length about his views of the problems with the evidence against the two men.6 However, when

  plaintiff’s counsel attempted to question Mr. Weinstein about the memo he had written

  contemporaneously, defense counsel asserted the DA memos were covered by Rule 26(b)(3) and

  had been inadvertently produced and sought to claw them back. The deposition was left open

  subject to a resolution of the privilege question. Attempts to resolve this and related issues, as


     4
        Given the claim of privilege, the memoranda at issue have not been electronically filed;
  leave is sought to submit them to the Court for in camera review.
      5
        See Deposition of Peter Weinstein (Feb. 10, 2011) at 200:17-21; id. at 203:19-25.
      6
        See, e.g., id. at 68-80; 132-45.
                                                   5
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  memorialized in plaintiff’s letters of February 14 and 22, 2011, and defense counsel’s letter of

  February 25, 2011 (attached hereto as Exhibits 2, 3 & 4), and Ms. Cornwall’s telephone

  conversation with Ms. Limani on March 3, 2011, have been unsuccessful.7 This motion follows.

                                                Argument

  I.       Legal Standard

           “[T]he party invoking a privilege bears the burden of establishing its applicability to the

  case at hand . . . [and the] burden is a heavy one, because privileges are neither lightly created

  nor expansively construed.” In re Grand Jury Subpoenas Dated March 19, 2002 and August 2,

  2002, 318 F.3d 379, 384 (2d Cir. 2003). See also In re Grand Jury Subpoena Dated July 6,

  2005, 510 F.3d 180, 183 (2d Cir. 2007) (“The party invoking [attorney work product] privilege

  bears the heavy burden of establishing its applicability.”). Underlying privilege analysis is the

  “‘fundamental maxim,’ recognized ‘[f]or more than three centuries ... that the public ... has a

  right to every man's evidence,’” see In re Grand Jury Subpoenas Dated March 19, 2002 and

  August 2, 2002, 318 F.3d at 384 (quoting U.S. v. Bryan, 339 U.S. 323, 331 (1950)); in the

  discovery context one effect of this broad sweeping principle is that to be discoverable, evidence

  “need not be admissible at the trial if the discovery appears reasonably calculated to lead to the

  discovery of admissible evidence,” Fed R. Civ. P. 26(b)(1).

           The attorney work product privilege may be invoked pursuant to Federal Rule of Civil

  Procedure 26(b)(3) or the common law. Rule 26(b)(3) provides in relevant part:

              (A) Documents and Tangible Things. Ordinarily, a party may not discover
              documents and tangible things that are prepared in anticipation of litigation or for trial

       7
       Based upon these attempts, undersigned counsel certifies that the parties attempted to meet
  and confer before filing this motion pursuant to LR 7.3.
                                                   6
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             by or for another party or its representative (including the other party’s attorney,
             consultant, surety, indemnitor, insurer, or agent). But, subject to Rule 26(b)(4), those
             materials may be discovered if:
                 (i) they are otherwise discoverable under Rule 26(b)(1); and
                 (ii) the party shows that it has substantial need for the materials to prepare its case
                      and cannot, without undue hardship, obtain their substantial equivalent by
                      other means.
             (B) Protection Against Disclosure. If the court orders discovery of those materials, it
             must protect against disclosure of the mental impressions, conclusions, opinions, or
             legal theories of a party’s attorney or other representative concerning the litigation.

         The common-law attorney work product doctrine, first articulated by the United States

  Supreme Court in Hickman v. Taylor, 329 U.S. 495 (1947), is slightly broader. While Rule

  26(b)(3) only protects documents produced by parties, the Hickman doctrine protects, on rare

  occasion, work by non parties, but only if applying the doctrine to a particular situation would

  advance the doctrine’s purposes. See Gonzalez v. City of New York, No. 08 CV 2699, 2009 WL

  2253118, at *3 (E.D.N.Y. Jul. 28, 2009); see also Abdell v. City of New York, No. 05 Civ. 8453,

  2006 WL 2664313, at *3-4 (S.D.N.Y. Sept. 14, 2006).

         The work product doctrine “is intended to preserve a zone of privacy in which a lawyer

  can prepare and develop legal theories and strategies ‘with an eye toward litigation,’ free from

  unnecessary intrusion by his adversaries.” U.S. v. Adlman, 134 F.3d 1194, 1196 (2d Cir. 1998).

  The doctrine has three specific purposes; all are focused on avoiding disclosures that might

  endanger the efficiency and fairness of ongoing or potential litigation. Thus the Hickman

  doctrine may be invoked only if nondisclosure is necessary to “ensure[] that an attorney will not

  alter his behavior for fear that his adversary will learn his strategy and thereby gain an

  advantage”; “alleviate[] the ‘freeloader’ problem”; or “prevent[] disruption of ongoing



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  litigation.” Abdell, 2006 WL 2664313, at *3-4 (citing Hickman, 329 U.S. at 510-11 (majority

  opinion) & 516 (Jackson, J., concurring)); Gonzalez, 2009 WL 2253118 at *3 (same).

  II.         The DA Memos Are Not Attorney Work Product

              A.     The DA Memos Are Not Covered by Fed. R. Civ. P. 26(b)(3)

              Both when defense counsel first invoked privilege over these DA memos at Mr.

  Weinstein’s deposition, and, later in their February 25, 2011 letter, they specifically limited their

  assertion of privilege to Fed. R. Civ. P. 26(b)(3).8    Importantly, any privileges sought to be

  invoked must be identified “at the time that a party responds to a discovery request” or “the

  privilege is waived.” Nextg Networks of NY, Inc. v. City of N.Y., 03 Civ. 9672 (RMB)(JCF), 2005

  WL 857433, *2 (S.D.N.Y. April 13, 2005) (noting “party cannot simply hold in reserve its

  objections on grounds of privilege ‘for later strategic use.’”). Here, defendants did not log the

  DA memos as the privileged log when they responded to the relevant discovery requests, see

  infra, and thus waived any applicable privilege; moreover, even if the current claim of privilege

  were valid, by limiting it to Rule 26(b)(3), defendants have waived any other potentially

  applicable basis for objection.

              “[B]y its express terms [Rule 26(b)(3)] affords protection only to documents prepared ‘by

  or for another party or its representative.’” Jean, 2010 WL 148420, at *1 (quoting Fed. R. Civ. P.

  26(b)(3)(A)). But neither the NCDA nor any of its employees is a party to the instant litigation.

  Nor was the NCDA representing the County or any individual defendant during the prosecutions

  of Restivo, Halstead and Kogut. See Curry v. Hosley, 86 N.Y.2d 470, 473 (1995) (“[T]he

  District Attorney’s client is the people of the State of New York.”). Accordingly “Rule 26(b)(3)

        8
            See Weinstein dep. (Feb. 10, 2011) at 209-10, attached as Exhibit 5.
                                                      8
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  simply does not apply” to documents NCDA authored, including the DA memos. Jean v. City of

  N.Y., CV-09-801(RJD)(VVP), 2010 WL 148420, *1 (E.D.N.Y Jan. 12, 2010); see also Abdell,

  2006 WL 2664313 at *2-3 (citing Cal. Pub. Util. Comm. v. Westinghouse Elec. Corp., 892 F.2d

  778, 781 (9th Cir.1989)); Ramsey v. NYP Holdings, Inc., No. 00 Civ. 3478, 2002 WL 1402055,

  at *6 (S.D.N.Y. June 27, 2002) (collecting cases); see also FTC v. Grolier Inc., 462 U.S. 19, 25

  (1983) (citing 8 Wright & Miller, Federal Practice and Procedure § 2024 at 201 (1970); Haus v.

  City of N.Y., No. 03 CV 4915, 2006 WL 3375395, at *2 (S.D.N.Y. Nov.17, 2006).

         In this jurisdiction, “courts have consistently held that when a prosecutor’s criminal file is

  subpoenaed for use in a subsequent civil proceeding, Rule 26(b)(3) provides no protection

  because the prosecutor is not a party to the civil action.” Gonzalez, 2009 WL 2253118 at *2

  (internal citations and quotations omitted); see also Jean, 2010 WL 148420 at *1) (“[R]elying on

  the fact that prosecutors whose files were subpoenaed were not parties in civil actions related to a

  prior criminal investigation, a substantial number of courts have held that Rule 26(b)(3) provides

  no protection whatsoever for a prosecutor’s files.”); Abdell, 2006 WL 2664313, at *3; Haus,

  2006 WL 3375395, at *2. As such, the privilege claim should be rejected without further

  analysis.

         B.      The DA Memos Are Not Privileged Under the Hickman Doctrine

         Even had defendants not waived any objection based on Hickman, that slightly broader

  doctrine does not protect the DA memos from disclosure, either. While non-parties may at times

  invoke the Hickman doctrine, they may only do so where non-disclosure would advance the

  doctrine’s purposes. See Gonzalez, 2009 WL 2253118 at *3; Abdell, 2006 WL 2664313, at *3-4;

  see also In re Grand Jury Subpoenas Dated Mar. 19, 2002 & Aug. 2, 2002, 318 F.3d at 383-87.
                                              9
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  Here, there is no possibility of endangering the fairness or efficiency of any ongoing or potential

  litigation involving the NCDA: John Kogut was acquitted, and the Restivo and Halstead

  indictment was dismissed. Moreover, trial prosecutor Fred Klein admitted in open court that

  nothing in the materials the NCDA accumulated in the twenty years of ongoing criminal

  proceedings culminating in the 2005 dismissal of the indictment would allow it to successfully

  prosecute either Mr. Restivo or Mr. Halstead. For the same reasons, there can be no claim

  anyone is attempting to “freeload” off the NCDA’s opinions or strategies. Finally, Mr.

  Weinstein has already testified without objection (to the best of his recollection without being

  shown his contemporaneous memo) about his own opinion about the weaknesses of the evidence

  against Mr. Halstead and Mr. Restivo and his recommendation that the NCDA consent to a new

  trial in 1995—the very subjects addressed in the Weinstein memo. Thus defense counsel cannot

  credibly argue that disclosure of the DA memos would reveal secret mental impressions of the

  NCDA; that cat is already out of the bag.9 All disclosure would do is allow plaintiffs to use a

  much more accurate and complete version of this account—in the form of contemporaneous and

  comprehensive memos sent to the County’s final policymaker, District Attorney Dillon himself,

  rather than a 15-year-later attempted reconstruction—for use in depositions and at trial.


     9
       It is additionally worth noting that at the same time that defendants’ attorneys were
  claiming that attorney work product privilege for some of the work done by the NCDA on the
  criminal case, they were affirmatively disclosing dozens of documents similar in all relevant
  respects. For instance, they chose to produce more than a hundred pages of trial notes by ADA
  Fred Klein, who conducted the original trials in 1986 as well as Mr. Kogut’s retrial in 2005
  (significant portions of NC59519-59713). Having voluntarily disclosed many of Fred Klein’s
  notes, defendants cannot claim to be concerned about revealing NCDA strategy in the now-
  terminated criminal proceedings. Indeed, central to plaintiffs’ claims is the question of what
  evidence ADA Klein had, what evidence police defendants withheld from him, and how it all
  influenced the prosecution.
                                                    10
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         C.      Substantial Need for the Memos

         Apart from the flaws in defendants’ assertions of privilege over the DA memos, the

  memos are discoverable because: plaintiffs have a substantial need for them. See Fed. R. Civ. P.

  26(b)(3)(A)(ii) (explaining documents otherwise protected by attorney work product doctrine are

  discoverable if the requesting “party shows that it has substantial need for the materials to

  prepare its case and cannot, without undue hardship, obtain their substantial equivalent by other

  means.” ); Strauss v. Credit Lyonnais, S.A., 242 F.R.D. 199, 237 (E.D.N.Y. 2007) (“Even where

  the applicability of the work product doctrine had been established, factual material may be

  ordered produced ‘upon a showing of substantial need and inability to obtain the equivalent

  without undue hardship.’”) (quoting In re Omeprazole Patent Litig., No. M-21-81, MDL 1291,

  2005 WL 818821, at *9 (S.D.N.Y. Feb.18, 2005) (quoting Upjohn Co. v. U.S., 449 U.S. 383, 400

  (1981)).

         One of the key issues in this case is whether the NCPD defendants suppressed

  exculpatory evidence from the prosecution. That an ADA’s frank assessment of weaknesses in

  the prosecution case does not include any mention of certain exculpatory evidence—notably, but

  not solely, the French documents—is compelling proof that, as plaintiffs claim, the NCPD

  defendants suppressed this evidence from the prosecution. As such these DA memos “go to the

  heart of the claims in this litigation” and should be disclosed. See Cohen v. City of New York,

  255 F.R.D. 110, 125-26 (S.D.N.Y. 2008); see also Strauss, 242 F.R.D. at 237 (substantial need

  exists where the information sought is “crucial to the determination of whether the defendant

  could be held liable for the acts alleged, or carries great probative value on contested issues”

  (alterations in original, internal quotation marks omitted)).
                                                    11
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          It is, moreover, impossible to get the equivalent information from another source,

  because of the substantial passage of time. Unsurprisingly after 16 years, Mr. Weinstein

  repeatedly testified that his recollection is limited.10 Other discovery thus far has already

  established the difficulty in proving what was or was not known to the NCDA during the original

  prosecution in 1985 and 86. Courts have routinely found that the passage of time, with the

  concomitant and inevitable deterioration of witness memories, creates the requisite substantial

  need for materials otherwise protected as attorney work product. See Cohen, 255 F.R.D. at 125

  (“because the notes are the product of contemporaneous observations, they cannot be

  replicated”); Redvanly v. NYNEX Corp., 152 F.R.D. 460, 468-469 (S.D.N.Y. 1993); Zoller v.

  Conoco, Inc., 137 F.R.D. 9, 10 (W.D. La. 1991) (substantial need for photographs of accident

  site taken by investigator where site’s appearance had changed); cf. Horn & Hardart Co. v.

  Pillsbury Co., 888 F.2d 8, 12 (2d Cir. 1989) (“[d]epositions of persons who were actually present

  at the meeting, taken shortly after the meeting, provide a satisfactory alternative to” requested

  notes recording that meeting). If witnesses’ lack of recollection makes it impossible to use

  depositions to obtain the information contained in attorney work product, that work product must

  be produced. Estavez v. Matos, 125 F.R.D. 28, 32 (S.D.N.Y. 1989) (witness’s “present lack of

  recollection makes it impossible . . . to obtain the substantial equivalent of her contemporaneous

  version of material facts by other means”); Xerox Corp. v. International Business Machines

  Corp., 79 F.R.D. 7, 9 (S.D.N.Y.1977).



     10
        See, e.g., Weinstein dep. (Feb. 10, 2011), at 59:9-12 (“Do I recall that? No.”); 81:11-12
  (“my memory is poor”); 136:14-17 (“I don’t remember that detail”); 137:2-3 (“again, my
  recollection is not great”).
                                                  12
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          Furthermore, the DA the memos themselves, as well as other evidence of the internal

  deliberations in the NCDA office, are highly relevant to plaintiffs’ theories of continuing

  malicious prosecution, conspiracy, and damages. A jury could find that, but for the NCPD

  defendants’ continuing suppression of exculpatory evidence from, and misrepresentations to, the

  prosecution, the NCDA would have consented to vacating plaintiffs’ convictions in 1995,

  sparing them 8 of their 18 years of wrongful imprisonment. To establish this, however, plaintiffs

  must be able to discover and use the DA memos, as well as to question participants about the

  substance and tenor of these discussions.11

          To any extent that defendants wish to argue that the DA memos are “opinion work

  product” deserving of a higher standard of protection, such heightened protection is unavailable

  here. “To be entitled to protection for opinion work product, the party asserting the privilege

  must show a real, rather than speculative, concern that the work product will reveal counsel’s

  thought processes in relation to pending or anticipated litigation.” In re Grand Jury Subpoena

  Dated July 6, 2005, 510 F.3d at 183-84 (emphasis added, internal quotation marks omitted).

  Any opinion or thought processes present in the requested materials would relate not to a

  pending or anticipated litigation, but to now-terminated criminal proceedings. Moreover, even

  opinion work product may be discovered when the mental impressions of the attorney are at

  issue in a case and the need for the material is compelling. See Upjohn Co., 449 U.S. at 398-402;

  In re John Doe Corp., 675 F.2d 482, 492-93 (2d Cir. 1982); Holmgren v. State Farm Mut. Auto.

  Ins. Co., 976 F.2d 573, 577 (9th Cir. 1992); Tribune Co. v. Purcigliotti, No. 93 CIV. 7222 LAP


     11
        Former NCDA Denis Dillon, who made the ultimate decision about whether to consent to
  the 1995 motions for new trials, is deceased.
                                                13
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  THK, 1997 WL 10924, *4 (S.D.N.Y. Jan. 10, 1997); Redvanly, 152 F.R.D. at 464. Documents

  containing opinion work product are also discoverable where the factual information contained

  therein is not discoverable through other means. See Redvanly, 152 F.R.D. at 468 (“[T]he right

  of privacy of an attorney’s notes must be balanced against the critical need for the facts. Where

  the non-privileged facts are intertwined with information which conceivably is privileged, the

  critical factor becomes the availability of the non-privileged facts from other sources; and where

  no other sources exist, then a balance must be struck in favor of distilling, if possible, the non-

  privileged facts from the attorney's documents. If such a distillation becomes impossible,

  however, then the entire contents of the documents must be produced.”).

         Here, the mental impressions of the DAs—what they knew when, and whether they were

  misled or pressured by NCPD defendants, and how any NCPD misrepresentations impacted the

  DAs’ refusal to consent to a new trial in 1995—are squarely at issue. In similar circumstances,

  another court compelled the production of core opinion work product from the DA’s file because

  it found given the § 1983 plaintiff’s allegations that police officers had pressured the DA to

  prosecute, the mental impressions of the DAs were at issue and the plaintiff had a substantial

  need for the DA files. See Doubleday v. Ruh, 149 F.R.D. 601, 608 (E.D. Cal. 1993).

         D.      Any Potentially Applicable Privilege Has Been Waived

         The initial production of documents in the Bates range 33367-37124 (and within which

  these memos fall) was made on December 5, 2008. Although the Weinstein and Klein memos

  themselves were omitted from that production, they were not listed on the applicable December




                                                   14
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  5, 2008 privilege log, see Exhibit 6.12 On October 22, 2010, as part of an effort by defendants’

  new outside counsel to correct deficiencies in their discovery process and make sure that

  “plaintiffs have in [their] possession every relevant document to which [they] are entitled,”13

  defendants produced a box of discovery containing “document ranges [plaintiffs] should have

  received but were nonetheless missing.” (Ex.1). The October 22, 2010 cover letter specifically

  identified as included in this production the Bates range NC033687-33710, which included only

  the 17-page Weinstein memo (NC33687-33703), the two-page Klein memo (NC33709-10), and

  five intervening pages.

                 1. Defendants Waived Privilege by Failure to Log at Time of Initial
                    Production

          To invoke privilege and properly withhold requested materials, Rule 26(b)(5) and Local

  Rule 26.2 require a party to expressly claim privilege and timely produce a privilege log

  describing the document withheld and the privilege that party seeks to invoke. Importantly, any

  privileges the party seeks to invoke must be identified “at the time that a party responds to a

  discovery request,” and if a party fails to assert a privilege at that time, “the privilege is waived.”

  Nextg Networks of NY, Inc, 2005 WL 857433, at *2 (S.D.N.Y. Apr. 13, 2005). Indeed, the local

  civil rules in this district require that a party withholding a document on the basis of privilege

  provide complete identifying information, date, type of document, and subject matter “at the time

  of the response to ... discovery.” Id. (citations omitted); see also E.D.N.Y. LR 26.2(a) and (c)

  (requiring an attorney asserting privilege to “identify the nature of the privilege (including work


     12
        On December 11, 2008, plaintiff’s counsel sent a letter noting other apparent errors on the
  December 5, 2008 privilege log, but never received a response.
     13
        August 16, 2010 Freeman letter to Cornwall, attached as Exhibit 7.
                                                15
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  product) which is being claimed” and to do so “in writing at the time of the response to such

  discovery or disclosure, unless otherwise ordered by the court.”).14

          In addition, a party also waives privilege by failing to follow the requirements of Rule

  26(b)(5) and Local Rule 26.2(a) and (c), which require a party to supply in the privilege log all

  the information necessary to evaluate a claim of privilege. See In re Chevron Corp., 2010 WL

  4922312, *9-10 (S.D.N.Y. 2010) (failure to comply with Rule 26(b)(5) and Local Rule 26.2(c)

  by providing in a privilege log all the information necessary to “enable the litigants seeking

  discovery and the court to evaluate whether each of the withheld documents is privileged” is

  alone sufficient to constitute waiver (alterations in original omitted)); OneBeacon Ins. Co. v.

  Forman Intern., Ltd., No. 04 Civ. 2271, 2006 WL 3771010, *6 (S.D.N.Y. Dec. 15, 2006)

  (“Courts in this Circuit have refused to uphold a claim of privilege where privilege log entries

  fail to provide adequate information to support the claim.”).

          Even if the attorney work product doctrine were applicable to these DA memos,

  defendants waived it and any others by failing to note them on the December 5, 2008 privilege

  log covering this range of documents. See Fed. R. Civ. P. 26(b)(5); L.R. 26.2; FG Hemisphere

  Associates, L.L.C. v. Republique Du Congo, No. 01 Civ. 8700, 2005 WL 545218, at *6

     14
         See also Smith v. Franklin Hosp. Medical Center No., 04-CV-3555, 2005 WL 2219294, at
  *2 (E.D.N.Y. Sept. 25, 2005); Lugosch v. Congel, No. Civ. 1:00-CV-0784, 2006 WL 931687, at
  *15 (N.D.N.Y. Mar.7, 2006) (“Failure to timely provide the privilege log or objection constitutes
  a waiver of any of the asserted privileges.”); Smith v. Conway Org., Inc., 154 F.R.D. 73, 76
  (S.D.N.Y.1994); United States v. Constr. Prods. Research, Inc., 73 F.3d 464, 473 (2d Cir.1996);
  Chase Manhattan Bank, N.A. v. Turner & Newall, PLC, 964 F.2d 159, 166 (2d Cir.1992) (“[T]he
  failure to comply with [Rule 26] may result in a finding that the privilege has been waived.”);
  Grossman v. Schwarz, 125 F.R.D. 376, 386-87 (S.D.N.Y. 1989) (“[F]ailure to comply with the
  explicit requirements of [Rule 26] will be considered presumptive evidence that the claim of
  privilege is without factual or legal foundation.”); Bowne of New York City, Inc. v. AmBase
  Corp., 150 F.R.D. 465, 474-75 (S.D.N.Y. 1993).
                                                   16
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  (S.D.N.Y. Mar. 8, 2005) (“the unjustified failure to list privileged documents on the required log

  of withheld documents in a timely and proper manner operates as a waiver of any applicable

  privilege.”); see also Strauss, 242 F.R.D. at 235; Smith, 2005 WL 2219294, at *2; Lugosch, 2006

  WL 931687, at *15; Constr. Prods. Research, Inc., 73 F.3d at 473.

                 2.     Defendants Waived Privilege by Voluntary Disclosing the DA Memos

         Defendants also waived any potentially applicable privilege by voluntarily disclosing the

  DA memos on October 22, 2010, along with a letter identifying the two memos and the five

  pages in between them as part of a “document range[] [plaintiffs] should have received but were

  nonetheless missing.” (Ex. 1). “Even privileged documents . . . are not protected if a party

  voluntarily discloses them. If a party voluntarily discloses a privileged document, it waives the

  privilege for that document and cannot later seek to keep the document confidential.” U.S. v.

  Gangi, 1 F. Supp.2d 256, 263 (S.D.N.Y. 1998); see also Local 851 of Intern. Broth. of Teamsters

  v. Kuehne & Nagel Air Freight, Inc., 36 F. Supp.2d 127, 129-30 (E.D.N.Y. 1998) (“Voluntary

  disclosure of privileged communications to a third party results in waiver of the attorney-client

  privilege and, where applicable, work product immunity.”). Defendants, having voluntarily

  made the decision to produce the memorandum and then having done so, cannot now turn around

  and “seek to keep the document confidential.” Gangi, 1 F. Supp.2d at 263.

                        a.      The Disclosure of the DA Memos Was Not Inadvertent

         Defendants now claim they disclosed the memoranda inadvertently, but the record belies

  that claim. According to defense counsel, they spent “months reviewing the documents located

  at the Nassau County Attorney’s Office to determine which discoverable documents had not


                                                  17
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  been copied and bates-stamped and produced to plaintiff’s counsel previously.”15 They then

  “spent over a month reviewing these documents to prepare them for production and to determine

  what documents are privileged.”16 We have also been informed orally that both the associate and

  the partner reviewed every box before it was produced, and as a result productions were delayed

  when the partner was out sick or otherwise busy. The DA memos were produced as part of a

  single box of documents, and comprised 19 pages of a 24-page document range that was

  specifically identified in the cover letter as a “document range[] that [plaintiffs] should have

  received but were nonetheless missing.” (Ex. 1) Defendants have previously reviewed their

  prior disclosures for inadvertently disclosed materials and asked for the return of such materials,

  and never asked for these memoranda back before Weinstein’s deposition.17

              Moreover, it is worth noting that defendants cannot claim that the subject matter of the

  memorandum makes its divulgence self-evidently inadvertent, as defendants have produced a

  great number of other documents created by the NCDA for its internal use. For example, they

  produced a memorandum from ADA Biancavilla to ADA Klein on this case (NC58175); a note

  from ADA Birk and another from ADA Biancavilla regarding preparations and strategy for the

  Kogut retrial in 2005 (NC54108, NC54121); ADA Klein’s trial notes, including notes

  strategizing how to conduct the cross examination of Mr. Halstead (NC59520-26) and sentencing

  in the Kogut trial (NC53835); as well as a memorandum revealing ADA Haley’s analysis of

  another case and whether or not to proceed in a prosecution of that case (see NC24192-97).

  III.        Deposition Questions Regarding Internal DA Discussions Are Not Privileged

         15
            Nov. 15, 2010 Freeman and Limani Letter to Cornwall, attached as Exhibit 8.
         16
            Id.
         17
            See Jan. 18, 2011 Freeman and Limani Letter to Cornwall, attached as Exhibit 9.
                                                  18
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         Although, as described above, Mr. Weinstein was permitted to testify at length to his

  personal mental impressions of the evidence against plaintiffs and the merits of their 1995

  motions to vacate their convictions, and to testify to the fact of his disagreement on this matter

  with Fred Klein, questioning at his deposition was inappropriately limited in several ways. In

  addition to objecting to the use of the DA memos, defense counsel objected on the basis of

  attorney work product to any questioning of Mr. Weinstein as to the substance of any internal

  discussions at the NCDA regarding plaintiffs’ 1995 motions to vacate their convictions. The

  only basis of this objection can be the Hickman doctrine, as Fed. R. Civ. P. 26(b)(3) provides no

  protection either to non-parties or to intangible work product. See Abdell, 2006 WL 2664313, at

  *2-3. But the Hickman doctrine does not shield these conversations from disclosure any more

  than it does the DA memos, and for the same reasons. Furthermore, as laid out above, plaintiffs

  have a substantial need for discovery on this issue. Plaintiffs respectfully request the Court order

  that they be permitted to inquire into the substance of internal communications at the NCDA

  regarding their prosecutions, including their 1995 motions to vacate their convictions.

  IV.    Additional Documents Related to the Criminal Proceedings against Plaintiffs Are
         Not Privileged

         A.      Other NCDA Documents

         Besides the DA memos, defendants have also claimed privilege with respect to dozens of

  other documents generated by NCDA personnel regarding the now-terminated criminal

  proceedings against plaintiffs. In response to plaintiffs’ eight requests for production since the

  inception of discovery, defendants have provided four separate privilege logs identifying

  documents they have withheld: 1) an April 3, 2008 log, attached as Exhibit 10; 2) an undated log

                                                   19
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  served on December 5, 2008, attached with a production letter as Exhibit 6; 3) a log produced by

  new outside counsel on December 13, 2010 after productions on November 5 and November 15,

  2010 occasioned by their review of all the documents previously produced by prior counsel in

  order to determine which discoverable documents had not been produced, attached as Exhibit 11;

  and 4) a log dated January 27, 2011 updating and amending the prior log, attached as Exhibit 12.

  The majority of defendants’ claims are explicitly and solely under Rule 26(b)(3) of the Federal

  Rules of Civil Procedure. See Ex. 12 at 7 (“Memorandum is privileged under AWP under FRCP

  26(b)(3)”). As discussed above, Rule 26(b)(3) provides no protection to the non-party NCDA,

  and defendants have waived any claim to protection for these documents under the parts of the

  doctrine not codified in Rule 26(b)(3) or any other potentially applicable claims of privilege.

  See Nextg Networks, 2005 WL 857433, at *2. Accordingly, we respectfully request that the

  Court order the production of the documents listed in Exhibit 13

         For other documents from the NCDA, defendants claimed privilege under the common-

  law attorney work product doctrine. But for the reasons provided above, this does not apply in

  this circumstance, either. Accordingly, the Court should compel the production of the NCDA

  documents for which the defendants have claimed common law attorney work product privilege,

  specifically including the documents listed in Exhibit 14.

         B.      NCME Documents

         The January 27, 2011 privilege log (Ex. 12) asserts attorney work product privilege under

  Rule 26(b)(3) over several documents authored by the Nassau County Medical Examiner’s office

  (“NCME”) and transmitted to the NCDA during the criminal prosecution and post-conviction

  proceedings against Mr. Restivo, Mr. Halstead and Mr. Kogut. But neither the NCME (which
                                                20
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  prepared the documents) nor the NCDA that received the document is a party to this litigation or

  the representative of such a party. Thus, Rule 26(b)(3) does not apply. See Jean, 2010 WL

  148420 at *1.

          Moreover, the NCME does not exist to aid the NCDA in litigation, and did not produce

  these documents in order to help the NCDA prevail in the now-terminated criminal proceedings.

  Rather, it exists “to provide the residents of Nassau County with the most cost effective means of

  delivering the highest quality of medical-legal investigation into the causes and manner of deaths

  in Nassau County.”18 The NCME is under a legal duty to “investigate the facts concerning the

  circumstances of death,” and turn those over to the NCDA. See id.; Nassau County Charter §

  906 (2) and (4)(a). Any documents that passed from the NCME to the NCDA, including the

  documents here at issue, were created as part of the ordinary business of the NCME and pursuant

  to that legal duty. Rule 26(b)(3), however, does not protect documents that are prepared in the

  ordinary course of business, pursuant to a legal duty, or in furtherance of a government office’s

  routine duties. Adlman, 134 F.3d at 1202; Fed. R. Civ. P. 26(b)(3), Advisory Committee’s note

  (“Materials assembled in the ordinary course of business ... are not under the qualified immunity

  provided by this subdivision.”); People ex rel. Wheeler v. Southern Pacific Transp. Co., No. Civ.

  S921117LKKGGH, 1993 WL 816066, *4 (E.D. Cal. Sep. 2, 1993). “Even if such documents

  might also help in preparation for litigation, they do not qualify for protection because it could

  not fairly be said that they were created ‘because of’ actual or impending litigation.” Adlman,



     18
        Nassau County, Long Island Medical Examiner,
  <http://www.nassaucountyny.gov/agencies/Medex/index.html> (last accessed February 25,
  2011).
                                              21
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  134 F.3d at 1202. Thus the Court should compel the production of the documents listed in

  Exhibit 15.

         C.      Nassau County Attorney Documents Regarding Witnesses and Witness
                 Interviews

                 1.      Attorney Work Product Does Not Extend to Names of Witnesses

         Next, defendants claim Rule 26(b)(3) attorney work product privilege on various

  handwritten notes of witness interviews conducted by defendants’ counsel. For each of these

  documents, defendants have refused to identify the witnesses concerned. However, “work

  product protection does not extend to facts within a document or to the identities of people with

  relevant knowledge.” Strauss, 242 F.R.D. at 232; see also Fed. R. Civ. P. 26(b)(1) (“Parties

  may obtain discovery regarding any nonprivileged matter . . . including . . . the identity and

  location of persons who know of any discoverable matter.”). Defendants have no ground for not

  disclosing the names of the witnesses to whom the notes relate.

                 2.      Substantial Need Outweighs Protection for Factual Work Product

         Moreover, while defense counsels’ notes are their work product, they are factual work

  product, which merits less protection than core opinion work product, see In re John Doe Corp.,

  675 F.2d at 493, and, consequently “may be ordered produced ‘upon a showing of substantial

  need and inability to obtain the equivalent without undue hardship.’” Strauss, 242 F.R.D. at 237;

  Fed. R. Civ. P. 26(b)(3)(A)(ii) (documents otherwise protected by attorney work product

  doctrine are discoverable if the requesting “party shows that it has substantial need for the

  materials to prepare its case and cannot, without undue hardship, obtain their substantial



                                                   22
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  equivalent by other means”).19

          Here, plaintiffs have good reason to believe that they have just such a substantial need,

  and request that this Court compel the production of those documents, listed at Exhibit 16. First,

  given the substantial passage of time in this case, many witnesses will have passed away,

  disappeared or experienced a failure of memory, making it impossible for plaintiffs to acquire

  today information that may have been available to defense attorneys when they did their

  investigations. See Cohen, 255 F.R.D. at 126 ; Redvanly,152 F.R.D. at 468-469; Zoller 137

  F.R.D. at 10; Estavez 125 F.R.D. at 32; Xerox Corp., 79 F.R.D. at 9. Additionally, plaintiffs

  have encountered significant resistance from witnesses not wanting further involvement with the

  case, but reporting contact with County agents with regard to this civil action. As defendants

  have withheld the names of the witnesses they have interviewed, plaintiffs cannot determine

  whether they have a substantial need for any specific interview notes or make a more specific

  argument explaining this substantial need. Plaintiffs therefore request that the Court order

  defendants to set out in their response papers the identities of the witnesses to whom these notes

  relate, as well as other pertinent information regarding such witnesses and their contact with

  defendants, so that plaintiffs may more fully articulate their substantial need in their reply brief.

          D.     Defendants’ Claim that Documents “Related to the Investigation of the
                 Current Litigation” Are Not Relevant Invokes No Cognizable Privilege.

          On their updated January 27, 2011 privilege log (Ex. 12), defendants claim privilege on


     19
        Even if the notes are not wholly factual, defendants must disclose the factual matter within
  them. See Redvanly, 152 F.R.D. at 468. If the factual and other work product are so substantially
  intertwined that such separation is impossible, a showing of substantial need and the
  impossibility of obtaining the same information from other sources, “then the entire contents of
  the documents must be produced.” Id.
                                                   23
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  eighteen documents on the basis that those documents are “not relevant to Plaintiff’s discovery

  requests – Related to investigation of current litigation.”20 It is worth noting that they do not

  claim that the documents are not relevant to the litigation, such as to be undiscoverable per Rule

  26(b)(1), and, by failing to make that claim or any claim with respect to a potentially applicable

  privilege on their privilege log, have waived any such claims.21 More importantly, plaintiffs

  have made explicit and comprehensive document requests for all documents related to the

  investigation of the current litigation.22 These requests clearly encompass the documents in

  question: for example, the 2007 email exchange between members of the NCDA with respect to

  an identified witness (NC47456-65) obviously falls within the request for “all documents


     20
          See Exhibit 12 at 14.
     21
          Even if they had made such a claim, it would fail. According to Rule 26(b)(1), “[p]arties
  may obtain discovery regarding any nonprivileged matter that is relevant to any party's claim or
  defense—including the existence, description, nature, custody, condition, and location of any
  documents or other tangible things and the identity and location of persons who know of any
  discoverable matter.” As this court recently explained, “‘[r]elevance’ under Rule 26 is
  ‘construed broadly to encompass any matter that bears on, or that reasonably could lead to other
  matter that could bear on, any issue that is or may be in the case.’” Warnke v. CVS Corp., 265
  F.R.D. 64, 66 (E.D.N.Y. 2010) (Tomlinson, J.) (quoting Oppenheimer Fund, Inc. v. Sanders, 437
  U.S. 340, 351 (1978)). Moreover, the information sought “need not be admissible at trial to be
  discoverable.” Barrett v. City of N.Y., 237 F.R.D. 39, 40 (E.D.N.Y. 2006). The documents in
  question fall quite comfortably within Rule 26’s broad conception of relevance: documents
  identified as “related to investigation of current litigation” are by definition relevant to the
  current litigation and the issues therein.
       22
          See, e.g., Plaintiff’s Eighth RFP, #56 (requesting all documents “reflecting, concerning or
  regarding witnesses interviewed or attempted to be interviewed . . . from December 28, 2006
  through the present in connection with” the current litigation and the Kelly Morissey and Theresa
  Fusco homicides); Plaintiff’s Sixth RFP, #46 (“Produce any and all documents pertaining to any
  factual investigation of the November 10, 1984 rape and murder of Theresa Fusco following the
  filing of the complaint in this matter on December 21, 2006 to the present, whether conducted by
  the NCPD, the Nassau County District Attorney’s Office, the Nassau County Attorney’s Office,
  or any other entity, specifically including any notes, reports, memoranda or other documentation
  of any surveillance of or contact, whether in person, telephonic, or otherwise, with potential or
  actual witnesses in this action.”).
                                                     24
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  pertaining to any factual investigation of the November 10, 1984 rape and murder of Theresa

  Fusco following the filing of the complaint in this matter on December 21, 2006 to the present . .

  . conducted by . . . the Nassau County District Attorney’s Office.” As defendants have raised no

  valid objection to the production of these documents, the Court should these documents, listed at

  Exhibit 17, produced.

                                             Conclusion

         For the foregoing reasons, the Court should compel the production of all documents

  identified above.



  Dated: March 4, 2011                                 Respectfully submitted,
        New York, New York

                                                       By: _/s/ Deborah L. Cornwall___________

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                                       Certificate of Service




         I hereby certify that a true and accurate copy of Plaintiffs’ Motion to Compel Discovery,
  with Exhibits 1-17, was served by hand delivery on March 7, 2011, upon the following:


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